921 F.2d 276
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.METHODIST HEALTH SYSTEMS, INC., Methodist Hospitals ofMemphis, Plaintiffs-Appellants,v.AMRSTRONG WORLD INDUSTRIES, INC., et al., W.R. Grace &amp;Co.--Conn., Defendants-Appellees.
    No. 90-6370.
    United States Court of Appeals, Sixth Circuit.
    Dec. 19, 1990.
    ORDER
    
      1
      In accordance with Rule 18, Rules of the Sixth Circuit, and upon consideration of the stipulation of the parties to voluntarily dismiss the appeal pursuant to 42(b), Federal Rules of Appellate Procedure,
    
    
      2
      IT IS ORDERED that the appeal be and it hereby is dismissed.
    
    